       Case 1:18-cr-00083-TSE Document 7 Filed 02/13/18 Page 1 of 1 PageID# 70


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AO 83 (Rev. 06/09) Summons inaCriwiialCaae
                                                         L
                                     United States District Court
                                                         for the
                                               EasternDistrict ofVir^nia

                  UnitedStates ofAmerica
                                V.

                     PaulJ. Manafort. Jr.                                CaseNo. / y/

                            Dffettdant

                                             SUMMONS IN A CRIMINALCASE
       YOU ARE SUamONEDto wearbeforethe United States district court atlhetlme._^and ptosetforth
belowto answerto oneormore offenses or violations based on the followtog documentfiled with the court.
^Indictment         • SupersedingIndictment OInfoimation OSupeisedlng Infonnafion OComplatat
• Probation Violation Petition OSupervised Release ViolationPetition OViolationNotice OOrderofCourt
          U.S. District Court
 Place: 401 CourthouseSquare
                                                                               Courtroom No.:                  f
        Alexandria, VA 22314                                                   Date and




  le'u.slc. §§ 1349 and 3551 etseq.: Bank Fraud Conspiracy
  18 U.S.C. §§ 1344,2, and 3551 et seq.; Bank Fraud



                    02/13/2018
  Date:                                                     —7                  ^    issuhtgoffleer'l^iatvare      1   ^ I   t

                                                            »              1          Printedname mSmej


  1declare under penalty ofpeijuiy that Ihave:
                                                           O Returned thissummons unexecuted
  • Executedand returnedthis summons



   Date:                                                                                  Server's sipiature



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